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             EXHIBIT A
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                            Included on ESI
Custodian                   Order 176         Plaintiffs Proposal
Alejandro, Juan             Yes PH             Previously agreed custodians-- JD 11-15 and
Beckenhauer, Charlie        Yes PH            AA 12-18 run for entire ESI time period. JD 1-
Bennett, Phil               Yes PH                15 and AA 1-18 plus search terms for
Blount, Norris              Yes PH                         6/15/16 - 11/7/17.
Bradshaw, Paul              Yes PH
Briles, Art                 Yes PH
Briles, Kendal              Yes PH
Childers, Mark              Yes PH
Counsellor, Jeremy          Yes PH
Crawford, Patty             Yes PH
Davis, Tommye Lou           Yes PH
Deats, Shelly               Yes PH
Doak, Jim                   Yes PH
Dorrell-Ritter, Sarah       Yes PH
Genous, Lori                Yes PH
Gochis, Cheryl              Yes PH
Hogue, Tiffany              Yes PH
Holmes, Chris               Yes PH
Jackson, Chad               Yes PH
Jackson, Kevin              Yes PH
Jobson, Marci               Yes PH
Jobson, Paul                Yes PH
Knowles, Kandy              Yes PH
Kzadi, Kaz                  Yes PH
Leeper, Karla               Yes PH
Lyons, Gabrielle            Yes PH
MacLemore, Don              Yes PH
McCaw, Ian                  Yes PH
McCraw, Bethany             Yes PH
McRary, Ian                 Yes PH
Miller, Keith               Yes PH
Murdock, David              Yes PH
Nicholson, Brian            Yes PH
Patulski, Todd              Yes PH
Post, Nancy                 Yes PH
Ramsower, Reagan            Yes PH
Rogers, Mike                Yes PH
Schillinglaw, Colin         Yes PH
Scott, Martha Lou           Yes PH
Starr, Ken                  Yes PH
Toben, Brad                 Yes PH
Walls, Candice              Yes PH
Walter, Janelle             Yes PH
Whelan, John                Yes PH
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Wigtil, Brad               Yes PH
Yeary, Wes                 Yes PH
Cano, Elisabeth            yes
Clements, Randy            yes
Cooper, Trenia             yes
Fogleman, Lori             Yes
Garland, David             yes
Garner, Brian              yes
Holgersson, Migdalia       yes
Ivy, Becky                 yes
Jarrell, Sarah             yes
Jarvis, Jennifer           yes
Lebby, Jeff                yes
McGregor, F.B. (Bob)       yes
McPherson, Sarah           yes
Noble, Michael             yes
Priest, Pattilin           yes
Splane, Sonya              yes
Torres-Smith, Katherine    yes
Trevathan, Edwin           yes
Tucker, Kristen            yes
Wall, Cynthia              yes
Barry, John                not agreed     Entire ESI time period and all terms.
Brooks, David              not agreed     Entire ESI time period and all terms.
Brumley, Larry             not agreed     Entire ESI time period and all terms.
Crone, Marilyn             not agreed     Entire ESI time period and all terms.
Davis, Elizabeth           not agreed     Entire ESI time period and all terms.
Davis, Molly               not agreed     Entire ESI time period and all terms.
Frost, Melvin              not agreed     Entire ESI time period and all terms.
Gaynor, Kim                not agreed     Entire ESI time period and all terms.
Gray, Cary                 not agreed     Entire ESI time period and all terms.
Gray, Van                  not agreed     Entire ESI time period and all terms.
Haag, Jerry                not agreed     Entire ESI time period and all terms.
Hall, Ken                  not agreed     Entire ESI time period and all terms.

                                          Limit search to all JD & AA names and
                                          documents regarding policies, procedures
                                          and programs related to sexual assault and
                                          Title IX. Search for the Entire ESI time period
                                          and for the Jane Doe's still enrolled past
Hall, Yoshiko              not agreed     11/6/17, through the date of graduation.
Harper, David              not agreed     Entire ESI time period and all terms.
Helpert, Kevin             not agreed     Entire ESI time period and all terms.
Howell, Brent              not agreed     Entire ESI time period and all terms.
Hulme Eileen               not agreed     Entire ESI time period and all terms.
James, Lee Ann             not agreed     Entire ESI time period and all terms.
Jeffrey, David             not agreed     Entire ESI time period and all terms.
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Jones, Greg                 not agreed     Entire ESI time period and all terms.
Jones, Neal T               not agreed     Entire ESI time period and all terms.
Kamperman, Carrolle         not agreed     Entire ESI time period and all terms.

                                           Limit search to all JD & AA names and
                                           documents regarding policies, procedures
                                           and programs related to sexual assault and
                                           Title IX. Search for the Entire ESI time period
                                           and for the Jane Doe's still enrolled past
Kroll, Sydney               not agreed     11/6/17, through the date of graduation.
Kucera, Jeannette           not agreed     Entire ESI time period and all terms.
Lilley, John M.             not agreed     Entire ESI time period and all terms.
Lofgren, Randy              not agreed     Entire ESI time period and all terms.
Maggard, Judy               not agreed     Entire ESI time period and all terms.
Marsh, James                not agreed     Entire ESI time period and all terms.
Morrison, Michael D.        not agreed     Entire ESI time period and all terms.
Mosser, Ali                 not agreed     Entire ESI time period and all terms.
Murff, Ronald               not agreed     Entire ESI time period and all terms.
O’Brien, Randall            not agreed     Entire ESI time period and all terms.
Oliver, Dub                 not agreed     Entire ESI time period and all terms.
Orr, Pattie                 not agreed     Entire ESI time period and all terms.
Prescott, Dennis            not agreed     Entire ESI time period and all terms.
Robertson, Tyler            not agreed     Entire ESI time period and all terms.

                                           Limit search to all JD & AA names and
                                           documents regarding policies, procedures
                                           and programs related to sexual assault and
                                           Title IX. Search for the Entire ESI time period
                                           and for the Jane Doe's still enrolled past
Rogers, Lauri               not agreed     11/6/17, through the date of graduation.
Scott, Richard C.           not agreed     Entire ESI time period and all terms.
Sloan, Robert               not agreed     Entire ESI time period and all terms.
Stern, Sharon               not agreed     Entire ESI time period and all terms.
Stone, Dary                 not agreed     Entire ESI time period and all terms.
Ternus, Marsha              not agreed     Entire ESI time period and all terms.
Thompson, Amber             not agreed     Entire ESI time period and all terms.
Underwood, Bill             not agreed     Entire ESI time period and all terms.
Welch, Doug                 not agreed     Entire ESI time period and all terms.
Willis, Richard             not agreed     Entire ESI time period and all terms.
Wooten, Cheryl              not agreed     Entire ESI time period and all terms.
Wright, Kathy Wills         not agreed     Entire ESI time period and all terms.
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                                           Limit search to all JD & AA names and
                                           documents regarding policies, procedures
                                           and programs related to sexual assault and
                                           Title IX. Search for the Entire ESI time period
                                           and for the Jane Doe's still enrolled past
Barnes, Ashley              NA             11/6/17, through the date of graduation.
Benninghof, James           NA             Entire ESI time period and all terms.

                                           Limit search to all JD & AA names and
                                           documents regarding policies, procedures
                                           and programs related to sexual assault and
                                           Title IX. Search for the Entire ESI time period
                                           and for the Jane Doe's still enrolled past
Binetti, Katie Marie        NA             11/6/17, through the date of graduation.

                                           Limit search to all JD & AA names and
                                           documents regarding policies, procedures
                                           and programs related to sexual assault and
                                           Title IX. Search for the Entire ESI time period
                                           and for the Jane Doe's still enrolled past
Bracey, Amanda Thogmartin   NA             11/6/17, through the date of graduation.

                                           Limit search to all JD & AA names and
                                           documents regarding policies, procedures
                                           and programs related to sexual assault and
                                           Title IX. Search for the Entire ESI time period
                                           and for the Jane Doe's still enrolled past
Bradshaw, John Mattison     NA             11/6/17, through the date of graduation.

                                           Limit search to all JD & AA names and
                                           documents regarding policies, procedures
                                           and programs related to sexual assault and
                                           Title IX. Search for the Entire ESI time period
                                           and for the Jane Doe's still enrolled past
Bradshaw, Ronald            NA             11/6/17, through the date of graduation.
Burchett, Matt              NA             Entire ESI time period and all terms.

                                           Limit search to all JD & AA names and
                                           documents regarding policies, procedures
                                           and programs related to sexual assault and
                                           Title IX. Search for the Entire ESI time period
                                           and for the Jane Doe's still enrolled past
Castleberry, Vanessa        NA             11/6/17, through the date of graduation.
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                                             Limit search to all JD & AA names and
                                             documents regarding policies, procedures
                                             and programs related to sexual assault and
                                             Title IX. Search for the Entire ESI time period
                                             and for the Jane Doe's still enrolled past
Corey, David                  NA             11/6/17, through the date of graduation.

                                             Limit search to all JD & AA names and
                                             documents regarding policies, procedures
                                             and programs related to sexual assault and
                                             Title IX. Search for the Entire ESI time period
                                             and for the Jane Doe's still enrolled past
Diaz-Grandados, Jamie         NA             11/6/17, through the date of graduation.

                                             Limit search to all JD & AA names and
                                             documents regarding policies, procedures
                                             and programs related to sexual assault and
                                             Title IX. Search for the Entire ESI time period
                                             and for the Jane Doe's still enrolled past
Dolan, Sara                   NA             11/6/17, through the date of graduation.

                                             Limit search to all JD & AA names and
                                             documents regarding policies, procedures
                                             and programs related to sexual assault and
                                             Title IX. Search for the Entire ESI time period
                                             and for the Jane Doe's still enrolled past
Evans, Katherine Reed         NA             11/6/17, through the date of graduation.

                                             Limit search to all JD & AA names and
                                             documents regarding policies, procedures
                                             and programs related to sexual assault and
                                             Title IX. Search for the Entire ESI time period
                                             and for the Jane Doe's still enrolled past
Flores, Adam                  NA             11/6/17, through the date of graduation.
Fulcher, Alexandria           NA             Entire ESI time period and all terms.

                                             Limit search to all JD & AA names and
                                             documents regarding policies, procedures
                                             and programs related to sexual assault and
                                             Title IX. Search for the Entire ESI time period
                                             and for the Jane Doe's still enrolled past
Garner, Brian                 NA             11/6/17, through the date of graduation.
Garrett, Lisa                 NA             Entire ESI time period and all terms.
Gilbreath, Brianna            NA             Entire ESI time period and all terms.
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                                           Limit search to all JD & AA names and
                                           documents regarding policies, procedures
                                           and programs related to sexual assault and
                                           Title IX. Search for the Entire ESI time period
                                           and for the Jane Doe's still enrolled past
Gipson, Stephen Lloyd       NA             11/6/17, through the date of graduation.

                                           Limit search to all JD & AA names and
                                           documents regarding policies, procedures
                                           and programs related to sexual assault and
                                           Title IX. Search for the Entire ESI time period
                                           and for the Jane Doe's still enrolled past
Goodman, Amy                NA             11/6/17, through the date of graduation.

                                           Limit search to all JD & AA names and
                                           documents regarding policies, procedures
                                           and programs related to sexual assault and
                                           Title IX. Search for the Entire ESI time period
                                           and for the Jane Doe's still enrolled past
Graham, Curtis              NA             11/6/17, through the date of graduation.

                                           Limit search to all JD & AA names and
                                           documents regarding policies, procedures
                                           and programs related to sexual assault and
                                           Title IX. Search for the Entire ESI time period
                                           and for the Jane Doe's still enrolled past
Gravagne, Ian               NA             11/6/17, through the date of graduation.

                                           Limit search to all JD & AA names and
                                           documents regarding policies, procedures
                                           and programs related to sexual assault and
                                           Title IX. Search for the Entire ESI time period
                                           and for the Jane Doe's still enrolled past
Greer, Stanton              NA             11/6/17, through the date of graduation.
Grobe, Jim                  NA             Entire ESI time period and all terms.
Hicks, Brandyn              NA             Entire ESI time period and all terms.

                                           Limit search to all JD & AA names and
                                           documents regarding policies, procedures
                                           and programs related to sexual assault and
                                           Title IX. Search for the Entire ESI time period
                                           and for the Jane Doe's still enrolled past
Hinojosa, Victor            NA             11/6/17, through the date of graduation.
Hughes, Carolyn             NA             Entire ESI time period and all terms.
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                                           Limit search to all JD & AA names and
                                           documents regarding policies, procedures
                                           and programs related to sexual assault and
                                           Title IX. Search for the Entire ESI time period
                                           and for the Jane Doe's still enrolled past
Jordan, William             NA             11/6/17, through the date of graduation.

                                           Limit search to all JD & AA names and
                                           documents regarding policies, procedures
                                           and programs related to sexual assault and
                                           Title IX. Search for the Entire ESI time period
                                           and for the Jane Doe's still enrolled past
Lanning, Beth               NA             11/6/17, through the date of graduation.
Livingstone, Linda          NA             Entire ESI time period and all terms.

                                           Limit search to all JD & AA names and
                                           documents regarding policies, procedures
                                           and programs related to sexual assault and
                                           Title IX. Search for the Entire ESI time period
                                           and for the Jane Doe's still enrolled past
MacMaster, Lisa             NA             11/6/17, through the date of graduation.

                                           Limit search to all JD & AA names and
                                           documents regarding policies, procedures
                                           and programs related to sexual assault and
                                           Title IX. Search for the Entire ESI time period
                                           and for the Jane Doe's still enrolled past
Makowsky, Dan Reid          NA             11/6/17, through the date of graduation.

                                           Limit search to all JD & AA names and
                                           documents regarding policies, procedures
                                           and programs related to sexual assault and
                                           Title IX. Search for the Entire ESI time period
                                           and for the Jane Doe's still enrolled past
Manzanares, Carlos          NA             11/6/17, through the date of graduation.

                                           Limit search to all JD & AA names and
                                           documents regarding policies, procedures
                                           and programs related to sexual assault and
                                           Title IX. Search for the Entire ESI time period
                                           and for the Jane Doe's still enrolled past
Marsh, Monique              NA             11/6/17, through the date of graduation.
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                                           Limit search to all JD & AA names and
                                           documents regarding policies, procedures
                                           and programs related to sexual assault and
                                           Title IX. Search for the Entire ESI time period
                                           and for the Jane Doe's still enrolled past
Mastin, Regina              NA             11/6/17, through the date of graduation.

                                           Limit search to all JD & AA names and
                                           documents regarding policies, procedures
                                           and programs related to sexual assault and
                                           Title IX. Search for the Entire ESI time period
                                           and for the Jane Doe's still enrolled past
McKinney, Marilyn           NA             11/6/17, through the date of graduation.

                                           Limit search to all JD & AA names and
                                           documents regarding policies, procedures
                                           and programs related to sexual assault and
                                           Title IX. Search for the Entire ESI time period
                                           and for the Jane Doe's still enrolled past
Moore, Colby                NA             11/6/17, through the date of graduation.

                                           Limit search to all JD & AA names and
                                           documents regarding policies, procedures
                                           and programs related to sexual assault and
                                           Title IX. Search for the Entire ESI time period
                                           and for the Jane Doe's still enrolled past
Nam, Kyunglim               NA             11/6/17, through the date of graduation.

                                           Limit search to all JD & AA names and
                                           documents regarding policies, procedures
                                           and programs related to sexual assault and
                                           Title IX. Search for the Entire ESI time period
                                           and for the Jane Doe's still enrolled past
Oxford, Ed                  NA             11/6/17, through the date of graduation.

                                           Limit search to all JD & AA names and
                                           documents regarding policies, procedures
                                           and programs related to sexual assault and
                                           Title IX. Search for the Entire ESI time period
                                           and for the Jane Doe's still enrolled past
Rabbe , Dennis Henry        NA             11/6/17, through the date of graduation.
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                                           Limit search to all JD & AA names and
                                           documents regarding policies, procedures
                                           and programs related to sexual assault and
                                           Title IX. Search for the Entire ESI time period
                                           and for the Jane Doe's still enrolled past
Riley, Hugh H.               NA            11/6/17, through the date of graduation.

                                           Limit search to all JD & AA names and
                                           documents regarding policies, procedures
                                           and programs related to sexual assault and
                                           Title IX. Search for the Entire ESI time period
                                           and for the Jane Doe's still enrolled past
Rushing, Anne Elizabeth      NA            11/6/17, through the date of graduation.

                                           Limit search to all JD & AA names and
                                           documents regarding policies, procedures
                                           and programs related to sexual assault and
                                           Title IX. Search for the Entire ESI time period
                                           and for the Jane Doe's still enrolled past
Sadler , Larry               NA            11/6/17, through the date of graduation.

                                           Limit search to all JD & AA names and
                                           documents regarding policies, procedures
                                           and programs related to sexual assault and
                                           Title IX. Search for the Entire ESI time period
                                           and for the Jane Doe's still enrolled past
Shuford, Kevin Lee           NA            11/6/17, through the date of graduation.

                                           Limit search to all JD & AA names and
                                           documents regarding policies, procedures
                                           and programs related to sexual assault and
                                           Title IX. Search for the Entire ESI time period
                                           and for the Jane Doe's still enrolled past
Skurla, Carolyn              NA            11/6/17, through the date of graduation.
Stewart, Phil                NA            Entire ESI time period and all terms.

                                           Limit search to all JD & AA names and
                                           documents regarding policies, procedures
                                           and programs related to sexual assault and
                                           Title IX. Search for the Entire ESI time period
                                           and for the Jane Doe's still enrolled past
Tsang, JoAnn                 NA            11/6/17, through the date of graduation.
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                                          Limit search to all JD & AA names and
                                          documents regarding policies, procedures
                                          and programs related to sexual assault and
                                          Title IX. Search for the Entire ESI time period
                                          and for the Jane Doe's still enrolled past
Uber, David Merril          NA            11/6/17, through the date of graduation.

                                          Limit search to all JD & AA names and
                                          documents regarding policies, procedures
                                          and programs related to sexual assault and
                                          Title IX. Search for the Entire ESI time period
                                          and for the Jane Doe's still enrolled past
Usenko, Crystal             NA            11/6/17, through the date of graduation.
White, Ellen                NA            Entire ESI time period and all terms.

                                          Limit search to all JD & AA names and
                                          documents regarding policies, procedures
                                          and programs related to sexual assault and
                                          Title IX. Search for the Entire ESI time period
                                          and for the Jane Doe's still enrolled past
Wood, Emma                  NA            11/6/17, through the date of graduation.

                                          Limit search to all JD & AA names and
                                          documents regarding policies, procedures
                                          and programs related to sexual assault and
                                          Title IX. Search for the Entire ESI time period
                                          and for the Jane Doe's still enrolled past
Wright, Lesley              NA            11/6/17, through the date of graduation.
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Original ESI & Additional ESI Orders - Terms                Plaintiffs Proposal
PH                                                          Agree to PH NOT w/1 D
bury                                                        Agree to Remove
delete* (but used in conjunction with report or evidence)   Agree to Remove
failure /s identify                                         Agree to Remove
failure /s prioritize                                       Agree to Remove
Galluccie                                                   Agree to Remove
Harrassment                                                 Agree to Remove
Hidding                                                     Agree to Remove
multiple /s partner                                         Agree to Remove
penetration                                                 Agree to Remove
prior /s conduct                                            Agree to Remove
purge*                                                      Agree to Remove
prior /s sex                                                Include- Not Agreed
resource /s title ix                                        Include- Not Agreed
Sex / Sexual                                                Include- Not Agreed
Sex Act                                                     Include- Not Agreed
Sexual Activity                                             Include- Not Agreed
Violence Against Women Reauthorization Act / VAWA           Include- Not Agreed
Assault*                                                    Include- Not Agreed
Clery Act                                                   Include- Not Agreed
Sexual Assault                                              Include- Not Agreed
Title IX                                                    Include- Not Agreed
stalk*                                                      Include- Not Agreed
failure /s action                                           Include - Agreed
failure /s implement                                        Include - Agreed
failure /s respond                                          Include - Agreed
redact /s name                                              Include - Agreed
Jane Does 1-15 & Alleged Assailants 1-18                    Include - Agreed
deserved /s it                                              Include - Agreed
disciplinary /s sex                                         Include - Agreed
expel*                                                      Include - Agreed
her /s dress                                                Include - Agreed
her /s fault                                                Include - Agreed
ho                                                          Include - Agreed
immoral                                                     Include - Agreed
inbread                                                     Include - Agreed
Intimate Partner Violence                                   Include - Agreed
Mea Culpa                                                   Include - Agreed
pattern /s conduct                                          Include - Agreed
pattern /s violence                                         Include - Agreed
pervert                                                     Include - Agreed
premarital                                                  Include - Agreed
preservation /s evidence                                    Include - Agreed
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promiscuous                                                          Include - Agreed
rape                                                                 Include - Agreed
she /s dress                                                         Include - Agreed
she /s expect                                                        Include - Agreed
Skank*                                                               Include - Agreed
Sleazy                                                               Include - Agreed
slut*                                                                Include - Agreed
stripper                                                             Include - Agreed
title ix /s compliance                                               Include - Agreed
tramp                                                                Include - Agreed
whore                                                                Include - Agreed
asking /s for /s it (used in conjunction with they or she            Include - Agreed
consent* /s sex                                                      Include - Agreed
dating /s violence                                                   Include - Agreed
dear colleague letter with reference to sex                          Include - Agreed
Gender /s Harrassment                                                Include - Agreed
hostile environment                                                  Include - Agreed
Incapacitated (but used in conjunction with alcohol, beer or drink   Include - Agreed
insidious                                                            Include - Agreed
Non-consensual                                                       Include - Agreed
Pepper                                                               Include - Agreed
Pepper Hamilton                                                      Include - Agreed
P-H                                                                  Include - Agreed
response /s Title IX                                                 Include - Agreed
Sexual Contact                                                       Include - Agreed
Sexual Exploitation                                                  Include - Agreed
Sexual Harrassment                                                   Include - Agreed
she /s wearing                                                       Include - Agreed
victim blaming                                                       Include - Agreed

             New terms proposed by Baylor
sexual assault /s task force
implement* /s recommendations
Pepper Hamilton /s recommendations
incapacitated /s alcohol s/ beer /s drink
105 Recommendations
implement* /s pepper hamilton
implement* /s recommendation*
sexual assault /s action team                                            Plaintiffs agree to the
sexual assault /s implement*                                               additional terms
